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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

AMGEN INC.; AMGEN MANUFACTURING,          )
LIMITED; and AMGEN USA INC.               )
                                          )      C.A. No.: 14-1317-RGA
           Plaintiffs,                    )      (CONSOLIDATED)
                                          )
                     V.                   )
                                    )
SANOFI; SANOFI-AVENTIS U.S. LLC;    )
A VENTISUB LLC, f/d/b/a AVENTIS     )
PHARMACEUTICALS INC. , and REGENERON)
PHARMACEUTICALS, INC.,              )
                                    )
           Defendants.              )




                                      VERDICT
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In the following questions, "Amgen" refers to plaintiffs Amgen Inc., Amgen Manufacturing,
Limited, and Amgen USA Inc., and "Sanofi-Regeneron " refers to defendants Sanofi, Sanofi-
Aventis US. LLC, Aventisub LLC, f/d/bla Aventis Pharmaceuticals Inc., and Regeneron
Pharmaceuticals, Inc.

                                            VALIDITY

 1. The '165 patent

        a. Has Sanofi-Regeneron proven by clear and convincing evidence that the following

 claims of the '165 patent are invalid because the patent does not enable a person of ordinary skill

 in the art to make or use the invention of the following claims of the '165 patent?


                       Checking "yes " below indicates a finding for Sanofi-Regeneron.

                       Checking "no" below indicates a finding for Amgen.

                Claim 7        Yes            No
                Claim 15       Yes            No
                Claim 19       Yes            No
                Claim 29       Yes            No

        b. Has Sanofi-Regeneron proven by clear and convincing evidence that the following

 claims of the '165 patent are invalid because the patent lacks adequate written description?


                       Checking "yes" below indicates a finding for Sanofi-Regeneron.

                       Checking "no" below indicates a finding for Amgen.

                Claim 7        Yes            No
                Claim 15       Yes            No
                Claim 19       Yes            No
                Claim 29       Yes            No

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 2. The '741 patent

        a. Has Sanofi-Regeneron proven by clear and convincing evidence that claim 7 of the

 '74 1 patent is invalid because the patent does not enable a person of ordinary skill in the art to

 make or use the invention in claim 7 of the '741 patent?


                          Checking "yes " below indicates a finding for Sanofi-Regeneron.

                          Checking "no " below indicates afindingfor Amgen.

                Claim 7          Yes            No



        b. Has Sanofi-Regeneron proven by clear and convincing evidence that claim 7 of the

 ' 741 patent is invalid because the patent lacks adequate written description?


                          Checking "yes" below indicates a finding for Sanofi-Regeneron.

                          Checking "no " below indicates a finding for Amgen.

                Claim 7          Yes            No



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We, the jurors, by signing below, indicate our unanimous verdict.




         Jury Foreperson                            Juror




         Juror                                      Juror




         Juror                                      Juror




         Juror




Dated:




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